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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
)
vs ) Criminal Case No. 20-173-2
)
CHRISTOPHER WEST )

WAIVER OF DETENTION HEARING

I understand that I have the right to a detention hearing in connection with the federal
charges that have been brought against me.

I hereby waive my right to a detention hearing at this time reserving the right to request a
detention hearing if and when the issue becomes relevant.

    
   

 

 

SIGNATURHVOF DEFENDANT

DATE: heyy. Vhtt~—

 

COUNSEL FOR DEFENDANT

ORDER OF DETENTION

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AND NOW, this_ f”"* day of Aipe.  2BAb.,

IT IS HEREBY ORDERED that the government’s request for detention is GRANTED
pending further consideration if and when the issue of bail becomes relevant.

s/_ Maureen P. Kelly
MAUREEN P. KELLY
UNITED STATES MAGISTRATE JUDGE
